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                          EXHIBIT B
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


    XR COMMUNICATIONS d/b/a                             §
    VIVATO TECHNOLOGIES,                                §
                Plaintiff,                              §
                                                        §     CIVIL NO. 6:21-CV-00620-ADA
           v.                                           §
                                                        §
    APPLE INC.                                          §
                       Defendant.                       §


                            DISCOVERY AND SCHEDULING ORDER

          This Order hereby vacates its earlier Discovery and Scheduling Order, ECF No. 68, and

   substitutes this Discovery and Scheduling Order to set the more organized schedule attached in

   Appendix A used in other cases.

   A. General Organization of the Court’s Default Schedule

          The Court’s default schedule is generally organized into the following stages: pleadings,

   optional transfer briefing, initial contentions, early Markman, fact discovery, expert discovery,

   substantive motions, pretrial conference, and trial. See, generally, Standing Order Governing

   Proceedings in Patent Cases 4.1 (“OGP”).

          At the initial contentions stage, parties exchange their initial infringement and invalidity

   theories. Unlike many other courts, this Court holds and early Markman hearing and defers fact

   discovery until after the Markman hearing. OGP at 13. This Court does so to protect defendants

   from frivolous plaintiffs who seek settlements based not on merit but based on the burden of fact

   discovery, a tactic referred to “patent-trolling.” Hence, the Court’s default schedule defers fact

   discovery until after the Markman hearing so that parties can cost-effectively reach the first merit

   milestone in a case. Greenthread, LLC v. Intel Corp., No. 6:22-CV-00105-ADA, 2022 WL

   4004781, at *5 (W.D. Tex. Sept. 1, 2022).
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          After the Markman hearing, the default schedule provides for fact discovery, followed by

   expert discovery. After discovery, substantive motions are due. With few exceptions such as venue

   and jurisdictional motions, the Court hears and rules on all substantive, merit-based motions at the

   pretrial conference, which usually occurs about a week before trial. Statistically, the vast majority

   of cases will settle before the pretrial conference or trial. This procedure allows the Court to

   effectively manage its docket and avoid case congestion.

   B. History of the Court’s Transfer Motion Procedures

          On November 20, 2020, the Federal Circuit ruled that “a Markman hearing and claim

   construction order are two of the most important and time-intensive substantive tasks a district

   court undertakes in a patent case.” In re Apple Inc., 979 F.3d 1332, 1338 (Fed. Cir. Nov. 9, 2020).

   Less than three months later, the Federal Circuit ordered, “the district court must stay all

   proceedings concerning the substantive issues in the case until such time that it has issued a ruling

   on the transfer motion.” In re SK hynix Inc., 835 F. App’x 600, 601 (Fed. Cir. Feb. 1, 2021).

          To comply, this Court immediately began delaying its Markman hearings until it issued

   orders on pending inter-district transfer motions. See, e.g., Order Resetting Markman Hearing,

   paSafeShare LLC v. Microsoft Corp., 6:20-cv-00397-ADA, (W.D. Tex. Feb. 9, 2021) ECF No. 40

   (rescheduling Markman hearings in view of pending transfer motion). The OGP has a standing

   order to this effect. OGP at 5–6. The OGP also allowed for limited “venue discovery” before the

   Markman hearing. Id. at 5.

          Parties then began abusing this process under an earlier version of the OGP. Defendants

   strategically waited to file their transfer motions to delay the case. After the permitted venue

   discovery, transfer motion briefing would not ripen by the Markman hearing, preventing this Court

   from issuing timely rulings. See, e.g., Apple Inc.’s Status Report, Scramoge Tech. Ltd. v. Apple



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   Inc., 6:21-cv-00579-ADA (W.D. Tex. Feb. 8, 2022) ECF No. 54 (“the motion will not be fully

   briefed and ready for resolution any earlier than March 14, 2022. The Markman hearing in this

   case is set for March 8, 2022”). This delay tactic employed by defendants forced the Court to

   unnecessarily reschedule the Markman hearings at the great inconvenience of all parties. To curb

   this abuse, the latest OGP requires transfer motions to be filed earlier and opens fact discovery

   after the originally scheduled Markman date, regardless of whether the Markman hearing is

   delayed. OGP at 6.

          The venue dispute process should work as follows. So that this Court can prioritize transfer

   motions early in a case in accordance with the Federal Circuit’s order, defendants may file a motion

   to transfer venue early in the case, along with evidence and declarations. OGP at 5–6; In re SK

   hynix Inc., 835 F. App’x at 601. Venue discovery then automatically opens. OGP at 5. Plaintiffs

   will serve venue discovery requests and depose witnesses. Defendants provide the requested

   discovery. Then, plaintiffs file their opposition supported by evidence uncovered during venue

   discovery. Defendants then file their reply. This allows the Court to make a fair, evidence-based

   ruling. However, both plaintiffs and defendants have repeatedly frustrated the Court by failing to

   present the Court the evidence needed to make a fair ruling.

   C. The General Need for a Revised Schedule

          A party may move to transfer a case for “the convenience of parties and witnesses, in the

   interest of justice.” 28 U.S.C. § 1404. As part of this inquiry, Courts look to the locations of the

   parties, the witnesses, and the evidence, among other factors. In re Volkswagen AG, 371 F.3d 201,

   203 (5th Cir. 2004) (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)).

          The Court intends to make a fair, evidenced-based ruling on Defendant’s pending motion

   to transfer, ECF No. 22, based on an accurate identification of the witnesses, parties, and evidence



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   relevant to this case. Supplementing the record furthers this goal. In fairness, if one party raises

   new evidence or arguments in a motion, the Court will give the other party a fair opportunity to

   respond. Thus, the Court permits both parties to provide supplemental evidence and arguments.

   The Court will give Plaintiff an opportunity to investigate and respond to the new facts and

   arguments that Apple wishes to supplement.

           Full fact discovery will allow the parties to provide the Court with the best evidence for

   ruling on a motion to transfer. In this Court’s experience, speculation and incomplete discovery

   often plagues early transfer motions. Before fact discovery, parties have not yet identified the

   relevant prior art to assert at trial, the relevant witnesses, the relevant third parties, or the relevant

   evidence. Thus, in early motions to transfer, the Volkswagen factors drive parties to identify

   witnesses and evidence based on location rather than relevance. Too frequently, such transfer-

   driven speculation about the witnesses and evidence fails to align with reality. At trial, the parties

   end up calling different witnesses, asserting different prior art, and presenting different evidence

   from what they identify in their transfer briefs. Requiring venue discovery to precede fact

   discovery also frequently leads to unnecessary disputes about whether certain discovery requests

   fall into one bucket or the other. See, e.g., Discovery Order, LPP Combustion, LLC v. General

   Electric Co., 6:21-CV-1343-ADA-DTG (W.D. Tex. May 13, 2022) ECF No. 34 (ruling on venue

   discovery dispute). These types of disputes waste judicial resources—fact discovery will

   eventually open and parties will have to turn over the evidence anyway, so disputing about whether

   a request qualifies as “venue” discovery at most delays the production.

           Indeed, the parties now present a needless venue discovery dispute to the Court regarding

   whether or not Apple adequately and timely disclosed its evidence and arguments or unfairly

   withheld them until after Plaintiff filed its opposition brief. ECF No. 55. Apple should have



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   provided all its venue evidence and arguments during venue discovery; this evidence that will

   come out during fact discovery anyway.

          Thus, the Court finds it prudent to have the parties to re-brief the motion to transfer in

   accordance with the appended schedule after the parties conduct fact discovery and determine

   which witnesses and evidence they intend to call at trial. In other similarly situated cases, Apple

   has assured this Court that it would not oppose a continuance when Apple presented new evidence,

   and that a continuance would not affect the overall trajectory of this case because fact discovery

   would commence regardless of whether a continuance is or is not granted.

   D. Effects of the Revised Schedule

          The scheduling order in Appendix A moves the completion of transfer motion briefing and

   the Markman hearing until after the conclusion of fact discovery so that the parties can fully

   uncover and identify all relevant parties and evidence instead of speculating about the same.

          The parties are now required to narrow their asserted claims and prior art during the

   discovery period. By narrowing the asserted prior art, the parties can determine which, if any, prior

   art witnesses will actually attend trial rather than speculate about it. Defendants routinely

   repeatedly abused the transfer factors by serving “cherry picked” initial invalidity contentions

   happen to include a disproportionate amount of prior art listing inventors who reside in the

   destination venue. See Fintiv, Inc. v. Apple Inc., No. 6:18-CV-00372-ADA, 2019 WL 4743678, at

   *5 (W.D. Tex. Sept. 13, 2019) (“Fintiv accuses Apple of ‘cherry-picking’ prior art witnesses”).

   The Federal Circuit found it error to disregard prior art witnesses, even though they are statistically

   unlikely to testify at trial. In re Hulu, LLC, No. 2021-142, 2021 WL 3278194, at *3 (Fed. Cir. Aug.

   2, 2021). At this point, the Court is unable to peek into the future and accurately see which

   witnesses will attend trial. Thus, to stop such cherry-picking gamesmanship and to give the Court



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   the facts needed to make a fair ruling, the Court is deferring its decision on this factor until the

   parties have narrowed down their prior art contentions and identified the few prior artists who will

   actually testify at trial.

           Based on the same reasoning, the revised schedule requires the parties to exchange

   preliminary witness lists at the close of discovery. The preliminary witness lists may be freely

   amended in good faith so long as the amendments do not amount to transfer motion gamesmanship.

   This benefits everyone by preventing the parties from speculating that certain witnesses have

   relevant information based on keywords in Linked-In profiles, news articles, third-party reports,

   and other possibly inaccurate hearsay.

           Based on the same reasoning, the revised schedule requires the parties to exchange

   preliminary exhibit lists at the close of discovery. The preliminary exhibit lists may be freely

   amended in good faith so long as the amendments do not amount to transfer motion gamesmanship.

   This Court has been plagued by transfer motions where parties guess at the volume of evidence or

   fail to identify any evidence, preventing the Court from accurately determining which venue is

   most convenient. Instead, parties routinely suggest that any evidence will be found alongside

   custodians—thereby improperly double counting the location of witnesses in the transfer factors.

   Here, the parties are disputing whether Apple’s manufacturer in Austin has the same quantity of

   evidence as                  in California. ECF No. 29 at 4. Proceeding to fact discovery and allowing

   the parties to serve their discovery requests will yield an accurate answer.

           After the close of fact discovery, Plaintiff may file an opposition brief based on the facts

   uncovered during discovery. Then, Defendant can file its reply brief, also including any evidence

   uncovered during discovery. Plaintiff may then file a short sur-reply that responds to any new

   evidence or argument Defendant raises on reply.



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          With a better evidentiary record after full fact discovery, the Court will then rule on the

   transfer motion. Thereafter, the Court will hold the Markman hearing. As mandated by the Federal

   Circuit, the Markman hearing will occur after the Court issues its transfer opinion. In re SK hynix

   Inc., 835 F. App’x at 601. Expert reports and substantive motions are not due until even later in

   the case. Per its usual practice, Court intends to hear and rule on any substantive motions at the

   pretrial conference that will not take place until about a week before trial.

          The revised schedule has the unfortunate effect of delaying the Markman hearing, which

   prevents defendants from quickly reaching the first merit milestone in a patent case. But when a

   defendant files a motion to transfer knowing that the OGP automatically imposes the burden of

   venue discovery, the defendant values transfer more than cost-effectively reaching the Markman

   hearing as the Court originally intended.

   E. Historically, Apple has evaded venue discovery and supplied questionable evidence.

          As a trial court, this Court handles many motions to transfer and is well-positioned to assess

   the comparable credibility of parties and their witnesses. The Court expects parties to respond fully

   to venue discovery requests and expects 30(b)(6) declarants to adequately investigate and prepare

   for their deposition topics. When the Court has all relevant facts and evidence, it can rule on a

   transfer motion. The Court compares the discovery and evidence provided by comparable high-

   tech defendants to show how forthcoming they appear:

          Meta (formerly Facebook) has demonstrated exceptional candor before this Court. Meta

   routinely relies on declarations by Mr. Nicholas Wong to support transfer motions. This Court

   found “the Declaration of Nicholas Wong to be credible and convincing. Mr. Wong carefully

   investigated the underlying facts that form the basis of his knowledge, identified the basis of his

   knowledge, made mostly clear and unqualified statements of fact, made statements consistent with



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   Defendants’ thoroughly prepared interrogatory responses, avoided making uninformed statements,

   avoided testifying about topics that he lacks knowledge of, and mostly avoids using vague and

   crafty language.” VoIP-Pal.com, Inc. v. Meta Platforms, Inc., No. 6:21-CV-00665-ADA, 2022

   WL 2110696, at *3 (W.D. Tex. May 31, 2022) (hereinafter “Meta Case”). In support of its motion,

   Meta supplied the Court with an interrogatory response identifying the name, location, team name,

   and employment title of every employee in every group that the plaintiff contended was relevant

   to the case. Meta Case at ECF No. 40-11 (sealed interrogatory response). Whatever investigation

   Meta did, it was thorough—Meta found the relevant employees scattered in Texas, California, and

   in other states. Meta had nothing to hide, and no opposing evidence contradicted Meta’s

   representations to this Court. This Court transferred the case based on Meta’s candor and thorough

   discovery response. Meta Case at *3.

          Google routinely relies on Mr. Rope as a venue declarant. In a recent case, he filed a

   declaration supporting a motion to transfer by Google, and the opposing party challenged Mr.

   Rope’s credibility. Motion Offense, LLC v. Google LLC, No. 6:21-CV-00514-ADA, 2022 WL

   3723303, at *2 (W.D. Tex. Aug. 29, 2022) (hereinafter “Google Case”). The Court found his

   declaration acceptable but limited to certain products and types of employees. Id. “He conducted

   a multi-day investigation, interviewed more than twenty individuals, and attempted to answer his

   deposition questions directly rather than evasively. Although Mr. Rope received some information

   from counsel and routinely received warnings not to divulge information from counsel, he

   nonetheless conducted an independent investigation. His investigation uncovered evidence that

   weighs against transfer, such as the witness . . . in Austin.” Id. (internal citations omitted). Mr.

   Rope has time to investigate the facts because he performs these types of investigations for Google

   as his full-time job. Id. The opposing party ultimately presented evidence of numerous types of



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    employees who worked on other accused products that Mr. Rope never identified, but this did not

    contradict Mr. Rope’s testimony because Mr. Rope made clear that his declaration was limited

    only to certain products and to certain types of employees. Id.

           Apple has a history of evading its discovery obligations. In response to an interrogatory for

    details about the location of its servers, Apple responded “the details regarding Apple’s servers are

    wholly irrelevant to the issue of the convenience of venue under 28 U.S.C. § 1404(a), especially

    given Apple has already represented that electronic documents concerning the Apple Products

    reside on local servers located or accessible in or around NDCA.” Scramoge Tech. Ltd. v. Apple

    Inc., No. 6:21-CV-00579-ADA (W.D. Tex. Mar. 22, 2022) ECF No. 67 at 4. The location of

    Apple’s servers directly relates to the transfer factor about the convenience of evidence. When

    compared to forthcoming defendants like Meta, the Court is left to wonder why Apple is hiding

    such basic, relevant information.

           The Court explained its concerns with Apple’s repeated use of Mr. Rollins as an unreliable

    venue declarant in the Scramoge Case. Scramoge Tech. Ltd. v. Apple Inc., No. 6:21-CV-00579-

    ADA, 2022 WL 1667561, at *2–4 (W.D. Tex. May 25, 2022) (“Scramoge Case”). At that time,

    Scramoge was the only plaintiff to seriously challenge Mr. Rollins’s credibility. Id. at n.3. 1 Absent

    opposition, the Court would routinely take Mr. Rollins at his word, and the Court will still

    selectively take him at his word when he gives plain, unqualified, informed statements of fact.

           To summarize the problems with Mr. Rollins, he appears to do little investigation into the

    facts as a 30(b)(6) witness and instead serves as a mouthpiece for attorney argument. He works as

    a full-time finance manager for Apple but somehow investigates more patent cases than full-time




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      Apple routinely seals the declarations of Mr. Rollins, so it is difficult for the public to access
    them.
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    experts. Id. at *2–3 (collecting just a fraction of Mr. Rollins’s declarations to show the

    unreasonable quantity). He explains complex technologies despite not being qualified as an expert.

    Id. He only vaguely describes what he does to prepare as a 30(b)(6) witness, leaving the Court to

    assume that he merely reviews attorney-fed information instead of conducting a reasonable

    investigation. Id. The Court has noticed the pattern of Mr. Rollins plainly declaring unqualified

    facts that support transfer, but when he gives facts about topics that might weigh against transfer,

    his statements suddenly become limited to his personal knowledge, suggesting that Mr. Rollins

    does not do an equally confident investigation into facts that weigh against transfer. E.g., id. at *3–

    4; see also Scramoge Case, ECF No. 81 at 6.

           As a result of this Court’s opinion in the Scramoge Case, Apple sought to supplement Mr.

    Rollins’s declarations in several pending cases, including the present case. See, e.g., ECF No. 55.

    F. Deficiencies in the evidence prevent the Court from making an informed decision in this

       case

           In this case, the declaration and testimony by Mark Rollins is unreliable evidence because

    it shares the deficiencies noted above. He is evasive in deposition. ECF No. 29-2 at 43:5–46:6.

    Rather than performing a reasonable investigation on deposition topics, Mr. Rollins again received

    selectively fed information from Apple’s counsel. ECF No. 26 at 6 (quoting deposition excerpts).

    Unlike Mr. Rope who spent many days talking to over twenty individuals, Mr. Rollins did not feel

    the need to undertake an investigation of similar scope and did not talk to anyone in Apple’s 7,000-

    employee Austin campus as part of his investigation. Id. at 7.

           Given his full-time job as a financial manager at Apple, Mr. Rollins lacks the time to

    properly investigate the accused products in this case. ECF No. 23-1 ¶¶ 1, 5. Mr. Rope needed to

    investigate at least 50 different products, including numerous makes and models of the Apple TV;



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    iPhones 12, 11, 8, 7, 6; iPad generations 1-5; iPad minis 2-4; and MacBook Pros and MacBook

    Airs from 2016 to 2020. Id. at 5. To find the witnesses and evidence related to these 50 products,

    Mr. Rollins spoke to just five people at Apple. ECF No. 23-1 ¶¶ 7, 9, 10, 13, 14. For comparison,

    Mr. Rope spoke with over twenty people when investigating just four Google products. Google

    Case, ECF No. 35-1 ¶ 5. The Court appreciates that a supplier may supply the WiFi chip(s) shared

    across the accused products, but it is still unlikely that just five people at Apple can reliably inform

    Mr. Rollins about all the witnesses and evidence related to over fifty products. ECF No. 55-4 ¶ 6.

            Mr. Rollins’s declaration again employs his usual crafty and qualifying language, such as

    “To my knowledge, Apple does not have any unique working files or documents relevant to this

    case located in the WDTX.” Id. ¶ 6 (emphasis added). This type of language suggests that Mr.

    Rollins knows about redundant evidence in the WDTX or that such evidence may exist but is not

    known to Mr. Rollins because he failed to investigate it. Also embedded in this statement is Mr.

    Rollins’s determination of what is “relevant to this case.” Id. Mr. Rollins isn’t even sure of what

    “RF” is and how it relates to WiFi. ECF No. 29-2 at 90:14-17 (“I’m not an engineer, my

    understanding is RF, I think, relates to radiofrequency and I’m not 100 percent sure if

    radiofrequency is – includes, for example, WiFi.”). Mr. Rollins is wholly unqualified to be making

    determinations of technological relevance in a patent case where the claims cover an antenna,

    transceiver, and processor configured to process wireless signals in a very particular way. ECF

    No. 1-1 at 32:33-60.

            As a result of relying on a financial manager who doesn’t know the difference between RF

    and WiFi to perform Apple’s investigation of “relevant” evidence and witnesses in this complex

    patent case, the party opposing Apple’s transfer motion has again found evidence that contradicts

    the personal understanding of Mr. Rollins. Mr. Rollins’s personal understanding is that “all of



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    Apple’s United States-based engineers who participated in or are knowledgeable about the

    research, design, development or integration of the WiFi technology within the Accused WiFi

    Products work in California and none work in Texas.” ECF No. 23-1. But back in October of 2021,

    Apple was hiring a wireless module engineer to drive RF module and component vendor meetings

    for its Austin, Texas location. ECF No. 29-4. It is undisputed that one of the accused products, the

    Mac Pro, is manufactured in Austin. ECF No. 29 at 4 (citing deposition testimony). It remains

    unclear how Mr. Rollins determined that Apple’s 7,000 employees in Austin do not work on

    integrating the WiFi chip for manufacturing without even speaking anyone in Austin.

           By failing to identify any relevant people in Texas, Mr. Rollins perpetuates the Court’s

    concern that Apple is somehow crafting an overly narrow definitions of relevant technology or

    otherwise avoiding its discovery obligations. The Court has no concern if an investigation finds

    no one in Texas in an individual case—the concern arises only when companies with a large

    presence in Texas repeatedly tell the Court that its employees don’t work on entire lines of products

    without ever explaining what those employees work on. For comparison, comparable tech

    companies like Meta and Google will, upon thoroughly investigating a major product, routinely

    find some people or evidence in Texas. See, e.g. Meta Case at ECF No. 40-11 (sealed interrogatory

    response identifying employees in Texas, California, and elsewhere). Even if the bulk of a team

    works at a company’s headquarters in California, it is exceedingly likely in the modern, post-

    COVID era that some employee works remotely from Texas or in its neighboring states, especially

    in cases involving big tech companies. By diligent investigation, Meta and Google routinely find

    these individuals and identify them during discovery. Mr. Rollins rarely does.

           Apple has a campus of about 7,000 employees in Austin. ECF No. 29 at 7. Apple would

    have the Court believe that none of those employees in Austin relate to this case where the accused



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    products cover 50 different Apple products, including numerous makes and models of the Apple

    TV; iPhones 12, 11, 8, 7, 6; iPad generations 1-5; iPad minis 2-4; and MacBook Pros and MacBook

    Airs from 2016 to 2020. Mr. Rollins did not talk any Texas Apple employees and, across the

    numerous cases that he provided a declaration in, has yet to explain what Apple’s 7,000 employees

    work on in Austin. In case after case, Apple argues that no one in Austin works on whatever Apple

    product happens to be accused, ultimately giving the Court the cumulative, puzzling, and

    unbelievable impression that there are no Apple products left for these 7,000 employees to work

    on.

    G. The revised schedule is fairest for everyone

           The Court is left with the decision of how to rule on Apple’s venue motion when Apple’s

    primary venue declaration about the “relevant” employees and evidence comes from a declarant

    doesn’t know the difference between WiFi and RF and hasn’t spoken to a single person in Texas.

    The Court will not allow a defendant to benefit from delaying the case schedule and extend venue

    discovery by using an incompetent witness. At the same time, the Court is reluctant to strike Mr.

    Rollins’s declaration without giving Apple a chance to fix the issues. The Court wants the parties

    to specifically identify the relevant evidence and witnesses rather than speculate about them.

           The fairest process for everyone is to proceed according to the amended schedule attached

    as Appendix A. By completing discovery, the parties can present the Court with the relevant

    evidence and witnesses instead of the parties’ speculations about relevant evidence and witnesses.

    Otherwise, the Court would be inclined to assume that Apple is being evasive and make adverse

    inferences against Apple. Apple has been harmed by this Court’s inaccurate determinations in the

    past. See, e.g., Koss Corp. v. Apple Inc., No. 6-20-CV-00665-ADA, 2021 WL 5316453, at *6

    (W.D. Tex. Apr. 22, 2021) (inaccurately determining the relevance of a witness against Apple’s



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    favor because the Court lacked the benefit of the parties’ witness lists). Under the amended

    schedule, both parties will have a fair opportunity to file new replacement briefs, present new

    evidence, and make new arguments.

           Reopening venue discovery would waste resources because at this point, reopened venue

    discovery is likely to substantially overlap with fact discovery. The parties will be asking each

    other to turn over the actual evidence and depose witnesses about their knowledge and relevance

    to support the transfer factor analysis.

    H. CONCLUSION

           Apple’s venue declarant has provided such unreliable evidence that the Court cannot

    accurately rule on the motion to transfer. The Court finds it prudent to have the parties engage in

    additional discovery before re-briefing the motion to transfer in accordance with the appended

    schedule. IT IS HEREBY ORDERED that:

           1) Full fact discovery is now open.

           2) The Court’s earlier Discovery and Scheduling Order, ECF No. 68 is VACATED.

           3) Apple’s Motion for Leave, ECF No. 55, is GRANTED-IN-PART. Apple may file any

               new arguments and evidence in accordance with the new schedule.

           4) Apple’s Motion to Stay, ECF No. 70, pending review of a vacated decision is MOOT.

           5) All other scheduled deadlines are vacated.

           6) The parties shall meet and confer to file a joint motion to enter a scheduling order for

               replacement briefing based on the appended schedule within two weeks.

    SIGNED this 9th day of September, 2022.



                                           ALAN D ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE


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                                  APPENDIX A – EXEMPLARY SCHEDULE

        Deadline                          Item

        8 weeks after receiving or        Deadline to file a motion for inter-district transfer. After this
        waiving service of                deadline, movants must seek leave of Court and show good
        complaint or 3 weeks after        cause for the delay.
        the CMC, whichever is
        later.

        7 days before CMC                 Plaintiff serves preliminary 2 infringement contentions in the
                                          form of a chart setting forth where in the accused product(s)
                                          each element of the asserted claim(s) are found. Plaintiff shall
                                          also identify the earliest priority date (i.e. the earliest date of
                                          invention) for each asserted claim and produce: (1) all
                                          documents evidencing conception and reduction to practice
                                          for each claimed invention, and (2) a copy of the file history
                                          for each patent in suit.

        2 weeks after CMC                 The Parties shall file a motion to enter an agreed Scheduling
                                          Order. If the parties cannot agree, the parties shall submit a
                                          separate Joint Motion for entry of Scheduling Order briefly
                                          setting forth their respective positions on items where they
                                          cannot agree. Absent agreement of the parties, the Plaintiff
                                          shall be responsible for the timely submission of this and other
                                          Joint filings.

        7 weeks after CMC                 Defendant serves preliminary invalidity contentions in the
                                          form of (1) a chart setting forth where in the prior art
                                          references each element of the asserted claim(s) are found, (2)
                                          an identification of any limitations the Defendant contends are
                                          indefinite or lack written description under section 112, and
                                          (3) an identification of any claims the Defendant contends are
                                          directed to ineligible subject matter under section 101.
                                          Defendant shall also produce (1) all prior art referenced in the
                                          invalidity contentions, and (2) technical documents, including
                                          software where applicable, sufficient to show the operation of
                                          the accused product(s).

        9 weeks after CMC                 Parties exchange claim terms for construction.



    2
      The parties may amend preliminary infringement contentions and preliminary invalidity contentions without leave
    of court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary contentions and the
    amendment is based on material identified after those preliminary contentions were served and should do so
    seasonably upon identifying any such material. Any amendment to add patent claims requires leave of court so that
    the Court can address any scheduling issues.

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        11 weeks after CMC                Parties exchange proposed claim constructions.

        12 weeks after CMC                Parties disclose extrinsic evidence. The parties shall disclose
                                          any extrinsic evidence, including the identity of any expert
                                          witness they may rely upon with respect to claim construction
                                          or indefiniteness. With respect to any expert identified, the
                                          parties shall identify the scope of the topics for the witness’s
                                          expected testimony. 3 With respect to items of extrinsic
                                          evidence, the parties shall identify each such item by
                                          production number or produce a copy of any such item if not
                                          previously produced.

        13 weeks after CMC                Deadline to meet and confer to narrow terms in dispute and
                                          exchange revised list of terms/constructions.

        14 weeks after CMC                Defendant files Opening claim construction brief, including
                                          any arguments that any claim terms are indefinite.

        17 weeks after CMC                Plaintiff files Responsive claim construction brief.

        19 weeks after CMC                Defendant files Reply claim construction brief.

        19 weeks after CMC                Parties to jointly email the law clerks (see OGP at 1) to
                                          confirm their Markman date and to notify if any venue or
                                          jurisdictional motions remain unripe for resolution.

        21 weeks after CMC                Plaintiff files a Sur-Reply claim construction brief.

        3 business days after             Parties submit Joint Claim Construction Statement and email
        submission of sur-reply           the law clerks an editable copy.

                                          See General Issues Note #7 regarding providing copies of the
                                          briefing to the Court and the technical advisor (if appointed).

        22 weeks after CMC (but           Parties submit optional technical tutorials to the Court and
        at least 10 days before           technical advisor (if appointed).
        Markman hearing)

        23 weeks after CMC (or as         Markman Hearing at 9:00 a.m. This date is a placeholder and
        soon as practicable) 4            the Court may adjust this date as the Markman hearing
                                          approaches.
            ---DELAYED---



    3
     Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon by the other party.
    4
     All deadlines hereafter follow the original Markman hearing date and do not change if the Court delays the Markman
    hearing.

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                              The Markman hearing is delayed until the Court resolves
                              the transfer motion.

     1 business day after     Fact Discovery opens; deadline to serve Initial Disclosures per
     Markman hearing          Rule 26(a).

     6 weeks after Markman    Deadline to add parties.
     hearing

     8 weeks after Markman    Deadline to serve Final Infringement and Invalidity
     hearing                  Contentions. After this date, leave of Court is required for any
                              amendment to infringement or invalidity contentions. This
                              deadline does not relieve the parties of their obligation to
                              seasonably amend if new information is identified after initial
                              contentions.

     16 weeks after Markman   Deadline to amend pleadings. A motion is not required unless
     hearing                  the amendment adds patents or patent claims. (Note: This
                              includes amendments in response to a 12(c) motion.)

     26 weeks after Markman   Deadline for the first of two meet and confers to discuss
                              significantly narrowing the number of claims asserted and
                              prior art references at issue to triable limits (10 hours of
                              trial per side).

     29 weeks after Markman   Deadline for the second of two meet and confers to discuss
                              significantly narrowing the number of claims asserted and
                              prior art references at issue to triable limits. Unless the
                              parties agree to the narrowing, they are ordered to contact
                              the Court’s law clerk to arrange a teleconference with the
                              Court to resolve the disputed issues.

     30 weeks after Markman   Close of Fact Discovery.
     hearing
                              Parties shall exchange preliminary exhibit lists and
                              witness lists. The preliminary exhibit lists and witness lists
                              may be freely amended in good faith so long as the
                              amendments do not amount to transfer motion
                              gamesmanship.

     32 weeks after Markman   Deadline for Plaintiff’s replacement transfer opposition
                              brief (15 pages).

     34 weeks after Markman   Deadline for Defendant’s replacement transfer reply brief
                              (15 pages).




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     36 weeks after Markman   Deadline for Plaintiff’s replacement transfer sur-reply
                              brief (10 pages).

     40 weeks after Markman   Markman hearing delayed to this date.
     hearing

     42 weeks after Markman   Opening Expert Reports.
     hearing

     45 weeks after Markman   Rebuttal Expert Reports.
     hearing

     48 weeks after Markman   Close of Expert Discovery.
     hearing

     50 weeks after Markman   Dispositive motion deadline and Daubert motion deadline.
     hearing
                              See General Issues Note #7 regarding providing copies of the
                              briefing to the Court and the technical advisor (if appointed).

     52 weeks after Markman   Serve Pretrial Disclosures (jury instructions, exhibits lists,
     hearing                  witness lists, discovery and deposition designations).

     54 weeks after Markman   Serve objections to pretrial disclosures/rebuttal disclosures.
     hearing

     55 weeks after Markman   Serve objections to rebuttal disclosures; file Motions in
     hearing                  limine.

     56 weeks after Markman   File Joint Pretrial Order and Pretrial Submissions (jury
     hearing                  instructions, final exhibits lists, final witness lists, discovery
                              and deposition designations); file oppositions to motions in
                              limine

     57 weeks after Markman   File Notice of Request for Daily Transcript or Real Time
     hearing                  Reporting. If a daily transcript or real time reporting of court
                              proceedings is requested for trial, the party or parties making
                              said request shall file a notice with the Court and email the
                              Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                              Deadline to meet and confer regarding remaining objections
                              and disputes on motions in limine.

     8 weeks before trial     Parties to jointly email the Court’s law clerk (See OGP at 1) to
                              confirm their pretrial conference and trial dates.



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        3 business days before          File joint notice identifying remaining objections to pretrial
        Final Pretrial Conference.      disclosures and disputes on motions in limine.

        59 weeks after Markman          Final Pretrial Conference. Held in person unless otherwise
        hearing (or as soon as          requested.
        practicable)

        60 weeks after Markman          Jury Selection/Trial.
        hearing (or as soon as
        practicable) 5




    5
      If the actual trial date materially differs from the Court’s default schedule, the Court will consider reasonable
    amendments to the case schedule post-Markman that are consistent with the Court’s default deadlines in light of the
    actual trial date.

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